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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                     4:06CR3016
                                           )
            v.                             )
                                           )
ARMANDO GARCIA-DELACRUZ,                   )        ORDER ON MOTION TO EXTEND
                                           )                DEADLINE
                   Defendants.             )
                                           )


      IT IS ORDERED that:

      1.    the Motion to Extend Deadline, filing 208, is granted;

      2.    the defendant shall have on or before September 8, 2010, to file and serve his
            response to my order, filing 207.

      Dated August 24, 2010.

                                  BY THE COURT

                                  s/ Warren K. Urbom
                                  United States Senior District Judge
